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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Shenzhen Dejiayun Network Technology Co., Ltd.
                                                         Plaintiff,
v.                                                                    Case No.:
                                                                      1:21−cv−06607
                                                                      Honorable Manish S.
                                                                      Shah
The Partnerships and Unincorporated Associations
Identified on Schedule "A", et al.
                                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, November 11, 2022:


        MINUTE entry before the Honorable Manish S. Shah: The motion for leave to file
[98] is granted. Defendants may file their amended answer as a separate entry on the
docket. (mss)




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